                 Case 11-40629                     Doc 1           Filed 02/28/11 Entered 02/28/11 15:48:47                                                 Desc Main
B1 (Official Form 1) (4/10)
                                                                     Document     Page 1 of 10                                                                      Bar No#: 20391000
                                            UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS                                                                                         Voluntary Petition
                                                    SHERMAN DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Mid West Hotel Lodging, LLC

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
dba Holiday Inn Express Gainesville



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     XX-XXXXXXX                                                                 than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
320 North Interstate 35
Gainesville, TX
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            76240
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Cooke
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
2716 Palazzo Ct.
Modesto, CA
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            95256
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     ¨       Chapter 7
 ¨      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨     Chapter 15 Petition for Recognition
                                                                                                                                                               of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   þ       Chapter 11
 þ      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨     Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                          of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            þ    Other
                                                                 Tax-Exempt Entity                   ¨       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         þ     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                       Chapter 11 Debtors
 þ      Full Filing Fee attached.                                                                    ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     þ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                     Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.               Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.
 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 ¨           ¨            ¨              ¨               þ                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            ¨              ¨               þ                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
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                                                                    Document     Page 2 of 10                                                                                    Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Mid West Hotel Lodging, LLC
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:


Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X
                                                                                                                                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      ¨ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                                          Name of Debtor(s):     Mid West Hotel Lodging, LLC
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)


     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Arthur Ungerman                                                                   defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Arthur Ungerman                                  Bar No. 20391000                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Arthur I. Ungerman
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 8140 Walnut Hill Lane                                                                       given the debtor notice of the maximum amount before preparing any document
 Suite 301                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Dallas, TX 75231                                                                            section. Official Form 19 is attached.


          (972) 239-9055
 Phone No.______________________        (972) 239-9886
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     2/28/2011
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
 Mid West Hotel Lodging, LLC
                                                                                                 Date
 X    /s/ Gurpreet S. Dhaliwal                                                               Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
      Gurpreet S. Dhaliwal
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.

     Managing Member
     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.
     2/28/2011
                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                                               EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION
IN RE:     Mid West Hotel Lodging, LLC                                                   CASE NO

                                                                                        CHAPTER       11

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                 $16,039.00
     Prior to the filing of this statement I have received:                                       $16,039.00
     Balance Due:                                                                                      $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
   d. [Other provisions as needed]
     Includes $1039.00 filing fee


6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       2/28/2011                              /s/ Arthur Ungerman
                         Date                                 Arthur Ungerman                            Bar No. 20391000
                                                              Arthur I. Ungerman
                                                              8140 Walnut Hill Lane
                                                              Suite 301
                                                              Dallas, TX 75231
                                                              Phone: (972) 239-9055 / Fax: (972) 239-9886




      /s/ Gurpreet S. Dhaliwal
     Gurpreet S. Dhaliwal
     Managing Member
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                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION
  IN RE:   Mid West Hotel Lodging, LLC                                              CASE NO

                                                                                   CHAPTER       11

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/28/2011                                           Signature    /s/ Gurpreet S. Dhaliwal
                                                                     Gurpreet S. Dhaliwal
                                                                     Managing Member


Date                                                     Signature
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                        Airco Services Inc.
                        c/o E3 Solutions, LLC
                        6510 Abrams Rd.
                        Suite 320
                        Dallas, TX 75231

                        All Seasons Landscapes, LP
                        110-F W. Main St.
                        Gainesville, TX 76241



                        American Hotel Register Co.
                        16458 Collections Ctr. Dr.
                        Chicago, IL 60693



                        AT&T
                        PO Box 5001
                        Carol Stream, IL 60197-5001



                        AT&T
                        PO Box 5091
                        Carol Stream, IL 60197



                        AT&T
                        250 South Clinton St.
                        4th Floor
                        Syracuse, NY 13202


                        AT&T
                        PO Box 5019
                        Carol Stream, IL 60197



                        Atmos Energy
                        PO Box 790311
                        St. Louis, MO 63179



                        Attorney General of Texas
                        Bankruptcy Division
                        PO Box 12548
                        Austin, TX 78711-2548
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                        Balwinder Malhi
                        901 Plumas St.
                        Yuba City, CA 95991



                        Brown Outdoor Advertising, LLC
                        2124 Grayson Rd.
                        McKinney, TX 75070



                        BWS Fire
                        PO Box 1897
                        Lake Dallas, TX 75065-1897



                        Comptroller of Public Accts
                        Rev Acctg Div Bankruptcy Dept
                        PO Box 13528
                        Austin, TX 78711


                        Cooke County Appraisal District
                        201 N. Dixon
                        Gainesville, TX 76240



                        Estes and Gandhi
                        1700 Pacific Ave.
                        Suite 4610
                        Dallas, TX 75201


                        Fashion Seal Uniform
                        PO Box 636822
                        Cincinnati, OH 45263-6822



                        Golden Triangle Fire Prot. LLC
                        1516 Masch Branch Rd.
                        Suite B
                        Denton, TX 76207


                        Harminder Singh
                        820 S. MacArthur Blvd.
                        Suite 105
                        Coppell, TX 75019
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                        Internal Revenue Service
                        MC 5030 DAL, Bankruptcy
                        1100 Commerce Street
                        Dallas, TX 75242


                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346



                        Janpak DFW
                        3101 High River Rd.
                        Suite 101
                        Fort Worth, TX 76155


                        Linebarger   Goggan Blair & Sampson
                        University   Center, Ste. 1720
                        2323 Bryan   Street
                        Dallas, TX   75201


                        Narinder Dhaliwal
                        1248 Jacob Lane
                        Carmichael, CA 95608



                        New Global Inc.
                        207 Hillside Lane
                        Lindsay, TX 76250



                        North Texas CDC/SBA
                        1101 East Plano Pkwy.
                        Suite A
                        Plano, TX 75074


                        Playnetwork, Inc.
                        PO Box 809198
                        Chicago, IL 60680



                        Professional Audio Studios
                        37 Putters Way
                        Middletown, NY 10940
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                        Quick Badge & Sign Inc.
                        PO Box 468
                        Gresham, OR 97030



                        Reliable Electric
                        1953 FM 371
                        Gainesville, TX 76240



                        ScentAir
                        14301-G South Lakes Dr.
                        Charlotte, NC 28273



                        SSD Systems
                        1740 N. Lemon Street
                        Anaheim, CA 92801



                        Sterling Bank
                        PO Box 40333
                        Houston, TX 77240-0333



                        SuddenLink Business
                        PO Box 660365
                        Dallas, TX 75266-0365



                        Sysco Guest Supply
                        PO Box 910
                        Monmouth Junction, NJ 08852



                        Terminex Commercial
                        4601 Langland Rd.
                        Suite 101
                        Dallas, TX 75244


                        Texas Workforce Commission
                        101 East 15th Street
                        Austin, TX 78778-0001
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                        Thyssen Elevator
                        2591 Dallas Pkwy.
                        Suite 600
                        Frisco, TX 75034


                        Tom R. McElvain Pool Service
                        1306 College View
                        Gainesville, TX 76240



                        U. S. Attorney
                        700 Nations Bank Tower
                        110 N. College Ave.
                        Tyler, TX 75702


                        U. S. Trustee
                        110 N. College Street
                        Suite 300
                        Tyler, TX 75702


                        Ultra Chem
                        PO Box 3717
                        Shawnee Mission, KS 66203-0827



                        USA Today
                        304 Seaboard Lane
                        Suite 301
                        Franklin, TN 37067
